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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                             (ELECTRONICALLY FILED)

 Rebecca Colbert,                     )
                                      )
              Plaintiff,              )
                                      )
       v.
                                      )  Civil Action No. 3:21-CV-517-RGJ
 Mohela/Dept. of Ed. et al.,          )
                                      )
              Defendants.             )
                                      )
                                      )
                                      )
                                      )
                     ANSWER AND AFFIRMATIVE DEFENSES OF
           DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.

       NOW COMES Defendant Experian Information Solutions, Inc. (“Experian”), by and

through its undersigned counsel, and answers Plaintiff Rebecca Colbert’s (“Plaintiff”) Complaint

(the “Complaint”) as follows:

                       RESPONSE TO PRELIMINARY STATEMENT

       1.      In response to paragraph 1 of the Complaint, Experian admits only that Plaintiff

has brought an action based on the Fair Credit Reporting Act (“FCRA”) 15 U.S.C. § 1681 et seq.

Experian states that this is a conclusion of law that is not subject to denial or admission.

Experian denies any and all implications that Plaintiff’s claims have legal merit. Experian is

without knowledge or information sufficient to form a belief as to the truth of the remainder of

the allegations in paragraph 1 of the Complaint and on that basis denies, generally and

specifically, each and every remaining allegation therein.
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              RESPONSE TO ALLEGATIONS REGARDING THE PARTIES

       2.      In response to paragraph 2 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       3.      In response to paragraph 3 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       4.      In response to paragraph 4 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       5.      In response to paragraph 5 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       6.      In response to paragraph 6 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       7.      In response to paragraph 7 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       8.      In response to paragraph 8 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       9.      In response to paragraph 9 of the Complaint, Experian admits that it is a

corporation with its principal place of business in Costa Mesa, California. Experian denies that it


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is organized under the laws of the State of California. Experian is an Ohio corporation.

Experian further admits that it is qualified to do business and conducts business in the State of

Kentucky. Except as specifically admitted, Experian denies, generally and specifically, each and

every remaining allegation of paragraph 9 of the Complaint.

       10.     In response to paragraph 10 of the Complaint, Experian admits that the allegations

contained therein appear to set forth a portion of the federal Fair Credit Reporting Act. Experian

affirmatively states that the Fair Credit Reporting Act speaks for itself and, on that basis, denies

any allegations of paragraph 10 inconsistent therewith.

       11.     In response to paragraph 11 of the Complaint, Experian admits it issues consumer

reports as defined by 15 U.S.C. § 1681a(d). Except as specifically admitted, Experian denies,

generally and specifically, each and every remaining allegation of paragraph 11 of the

Complaint.

       12.     In response to paragraph 12 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       13.     In response to paragraph 13 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       14.     In response to paragraph 14 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

             III. RESPONSE TO ALLEGATIONS REGARDING JURISDICTION

       15.     In response to Paragraph 15 of the Complaint, Experian admits only that Plaintiff

has alleged jurisdiction based on the Fair Credit Reporting Act 15 U.S.C. § 1681(p) and 28


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U.S.C. § 1331. Experian states that this is a conclusion of law that is not subject to denial or

admission. To the extent a response is required, Experian is without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in Paragraph 15 of the

Complaint and, on that basis, denies, generally and specifically, each and every allegation

contained therein.

                      IV. RESPONSE TO FACTUAL BACKGROUND

       16.     In response to paragraph 16 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       17.     In response to paragraph 17 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       18.     In response to paragraph 18 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       19.     In response to paragraph 19 of the Complaint, Experian denies, generally and

specifically, each and every allegation contained therein that relates to Experian. As to the

allegations in paragraph 19 of the Complaint that relate to the other defendants, Experian does

not have knowledge or information sufficient to form a belief as to the truth of those allegations

and, on that basis, denies, generally and specifically, each and every remaining allegation of

paragraph 19 of the Complaint.

       20.     In response to paragraph 20 of the Complaint, Experian denies, generally and

specifically, each and every allegation contained therein that relates to Experian. As to the

allegations in paragraph 20 of the Complaint that relate to the other defendants, Experian does


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not have knowledge or information sufficient to form a belief as to the truth of those allegations

and, on that basis, denies, generally and specifically, each and every remaining allegation of

paragraph 20 of the Complaint.

       21.     In response to paragraph 21 of the Complaint, Experian denies, generally and

specifically, each and every allegation contained therein that relates to Experian. As to the

allegations in paragraph 21 of the Complaint that relate to the other defendants, Experian does

not have knowledge or information sufficient to form a belief as to the truth of those allegations

and, on that basis, denies, generally and specifically, each and every remaining allegation of

paragraph 21 of the Complaint.

       22.     In response to paragraph 22 of the Complaint, Experian states that the allegations

contained therein are conclusions of law to which no response is required. To the extent a

response is required, Experian denies, generally and specifically, each and every allegation

contained therein that relates to Experian, including any allegation that Experian in any way

violated the FCRA or any other law or caused Plaintiff actual damages, embarrassment,

humiliation, or other emotional injuries of any kind. Experian also generally and specifically

denies that Plaintiff is entitled to judgment against, or any relief whatsoever from, Experian in

this action. As to the allegations in paragraph 22 of the Complaint that relate to the other

defendants, Experian does not have knowledge or information sufficient to form a belief as to the

truth of those allegations and, on that basis, denies, generally and specifically, each and every

remaining allegation of paragraph 22 of the Complaint.

                                   RESPONSE TO CLAIMS

              Negligent Violation of the Fair Credit Reporting Act – MOHELA

       23.     In response to paragraph 23 of the Complaint, Experian incorporates by reference

all preceding paragraphs as though fully restated herein.


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       24.     In response to paragraph 24 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       25.     In response to paragraph 25 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

               Negligent Violation of the Fair Credit Reporting Act – Equifax

       26.     In response to paragraph 26 of the Complaint, Experian incorporates by reference

all preceding paragraphs as though fully restated herein.

       27.     In response to paragraph 27 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       28.     In response to paragraph 28 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       29.     In response to paragraph 29 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

               Negligent Violation of the Fair Credit Reporting Act – Experian

       30.     In response to paragraph 30 of the Complaint, Experian incorporates by reference

all preceding paragraphs as though fully restated herein.

       31.     In response to paragraph 31 of the Complaint, Experian denies, generally and

specifically, each and every allegation contained therein.




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       32.     In response to paragraph 32 of the Complaint, Experian denies, generally and

specifically, each and every allegation contained therein.

       33.     In response to paragraph 33 of the Complaint, Experian denies, generally and

specifically, each and every allegation contained therein.

             Negligent Violation of the Fair Credit Reporting Act – Trans Union

       34.     In response to paragraph 34 of the Complaint, Experian incorporates by reference

all preceding paragraphs as though fully restated herein.

       35.     In response to paragraph 35 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       36.     In response to paragraph 36 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       37.     In response to paragraph 37 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

               Willful Violation of the Fair Credit Reporting Act – MOHELA

       38.     In response to paragraph 38 of the Complaint, Experian incorporates by reference

all preceding paragraphs as though fully restated herein.

       39.     In response to paragraph 39 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.




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       40.     In response to paragraph 40 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

                 Willful Violation of the Fair Credit Reporting Act – Equifax

       41.     In response to paragraph 41 of the Complaint, Experian incorporates by reference

all preceding paragraphs as though fully restated herein.

       42.     In response to paragraph 42 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       43.     In response to paragraph 43 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       44.     In response to paragraph 44 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

                Willful Violation of the Fair Credit Reporting Act – Experian

       45.     In response to paragraph 45 of the Complaint, Experian incorporates by reference

all preceding paragraphs as though fully restated herein.

       46.     In response to paragraph 46 of the Complaint, Experian denies, generally and

specifically, each and every allegation contained therein.

       47.     In response to paragraph 47 of the Complaint, Experian denies, generally and

specifically, each and every allegation contained therein.

       48.     In response to paragraph 48 of the Complaint, Experian denies, generally and

specifically, each and every allegation contained therein.


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              Willful Violation of the Fair Credit Reporting Act – Trans Union

       49.     In response to paragraph 49 of the Complaint, Experian incorporates by reference

all preceding paragraphs as though fully restated herein.

       50.     In response to paragraph 50 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       51.     In response to paragraph 51 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein.

       52.     In response to paragraph 52 of the Complaint, Experian is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained therein and, on

that basis, denies, generally and specifically, each and every allegation contained therein

                        RESPONSE TO DEMAND FOR JURY TRIAL

       In response to this paragraph of the Complaint beginning with “WHEREFORE,” and

containing four (4) subparts, Experian admits Plaintiff demands a jury trial on all issues triable.

Experian denies that Plaintiff is entitled to any of the relief requested, or any relief whatsoever

against Experian. Experian denies that Plaintiff is entitled to judgment against Experian in this

action. Furthermore, Experian reserves the right to supplement its answers based on future

investigation or discovery.

                 DEFENDANT EXPERIAN’S AFFIRMATIVE DEFENSES

       In further response to Plaintiff’s Complaint, Experian hereby asserts the following

affirmative and additional defenses. By asserting the defenses set forth below, Experian does not

allege or admit that it has the burden of proof and/or the burden of persuasion with respect to any

of these defenses. Nor does Experian admit that Plaintiff is relieved of her burden to prove each


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 and every element of her alleged claims and damages. As for its defenses, Experian reasserts

 and reincorporates as if fully set forth herein its responses, above, to the Complaint.

                                FIRST AFFIRMATIVE DEFENSE
                                    (Failure to State A Claim)

        53.     The Complaint fails to set forth facts sufficient to state a claim upon which relief

 may be granted against Experian and further fails to state facts sufficient to entitle Plaintiff the

 relief sought, or to any other relief whatsoever from Experian.

                              SECOND AFFIRMATIVE DEFENSE
                                (Truth/Accuracy Of Information)

        54.     All claims against Experian are barred because all information Experian

 communicated to any third person regarding Plaintiff was true.

                                THIRD AFFIRMATIVE DEFENSE
                                       (Indemnification)

        55.     Any purported damages allegedly suffered by Plaintiff are the results of the acts

 or omissions of third persons over whom Experian had neither control nor responsibility.

                              FOURTH AFFIRMATIVE DEFENSE
                                (Failure To Mitigate Damages)

        56.     Plaintiff has failed to mitigate her damages.

                                FIFTH AFFIRMATIVE DEFENSE
                                          (Estoppel)

        57.     Any damages which Plaintiff may have suffered, which Experian continues to

 deny, were the direct and proximate result of the conduct of Plaintiff. Plaintiff is therefore

 estopped and barred from recovery of any damages.

                                SIXTH AFFIRMATIVE DEFENSE
                                    (Statute of Limitations)

        58.     All claims for relief in the Complaint herein are barred by the applicable statutes

 of limitation, including but not limited to 15 U.S.C. § 1681p.



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                              SEVENTH AFFIRMATIVE DEFENSE
                             (Insufficient Basis for Punitive Damages)

           59.   The Complaint does not allege facts sufficient to rise to the level of conduct

 required to recover punitive damages, and thus all requests for punitive damages are improper.

                                EIGHT AFFIRMATIVE DEFENSE
                                         (Immunity)

           60.   All claims against Experian are barred by the qualified immunity of 15 U.S.C. §

 1681h(e).

                                NINTH AFFIRMATIVE DEFENSE
                                 (Contributory/Comparative Fault)

           61.   Experian is informed and believes and thereon alleges that any purported damages

 sustained by Plaintiff were, at least in part, caused by the actions of Plaintiff herself and/or the

 other parties or third parties over which Experian has no control and resulted from Plaintiff’s or

 third parties’ own negligence which equaled or exceeded any alleged negligence or wrongdoing

 by Experian.

                                         TENTH DEFENSE
                                          (Unclean Hands)

           62.   The Complaint and each claim for relief therein that seeks equitable relief are

 barred by the doctrine of unclean hands.

                                      ELEVENTH DEFENSE
                                        (Laches/Waiver)

           63.   The Complaint and each claim for relief therein are barred by laches and/or

 waiver.

                                       TWELFTH DEFENSE
                                  (Intervening/Superseding Cause)

           64.   Experian is informed and believes and thereon alleges that if Plaintiff sustained

 any of the injuries alleged in the Complaint, there was an intervening, superseding cause and/or




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 causes leading to such alleged injuries and, as such, any action on the part of Experian was not a

 proximate cause of the alleged injuries.

                                   ADDITIONAL DEFENSES

        65.     Experian reserves the right to assert additional affirmative defenses as such time

 and to such extent as warranted by discovery and the factual developments in this case.

                                     PRAYER FOR RELIEF

        WHEREFORE, Defendant Experian Information Solutions, Inc. prays as follows:

        (1)     That Plaintiff take nothing by virtue of the Complaint herein and that this action

 be dismissed in its entirety;

        (2)     For costs of suit and attorneys’ fees herein incurred; and

        (3)     For such other and further relief as the Court may deem just and proper.

  Dated: September 13, 2021                       Respectfully submitted,

                                                  /s/ Christopher P. Farris
                                                  Christopher P. Farris (Ky. Bar No. 96248)
                                                  BILLINGS LAW FIRM, PLLC
                                                  145 Constitution St.
                                                  Lexington, KY 40507-2112
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                                                  Attorney for Defendant
                                                  Experian Information Solutions, Inc.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 13, 2021, I electronically filed the foregoing with the

 clerk of the court by using the CM/ECF system, which will serve all counsel of record.


                                                   /s/ Christopher P. Farris
                                                   Attorney for Defendant
                                                   Experian Information Solutions, Inc.
